Case 3:16-cv-00545-REP Document 1813 Filed 12/07/18 Page 1 of 13 PageID# 54581



                      UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF VIRGINIA
                             Richmond Division


STEVES AND SONS, INC.,

        Plaintiff,

V.                                  Civil Action No. 3;16cv545

JELD-WEN, INC.,

      Defendant.


                             MEMORANDUM OPINION


      This matter is before the Court on the request of Steves and

Sons,    Inc.   ("Steves")    for   declaratory   relief   respecting   the

Doorskin Product Agreement (the "Supply Agreement") executed on

May 1,    2012 between it and       JELD-WEN,   Inc.   ("JELD-WEN").    The

request for declaratory relief appears first in Steves' Complaint

(ECF No. 1) wherein Steves sought a declaratory judgment on seven

issues.     Steves' original post-trial briefs persisted in, and

supported, those requests. JELD-WEN opposed declaratory relief.

Upon consideration of the Complaint, the Jury Verdict, and the

briefing, the Court concluded that, although there appeared to be

a basis for some declaratory relief, the briefing was inadequate

to determine whether such relief ought to be granted and, if so,

to what extent.      Accordingly, the Court issued an Order requiring

further briefing from both sides (ECF No. 1790).           In response to

that Order, Steves submitted PLAINTIFF STEVES AND SONS, INC.'S

MEMORANDUM IN SUPPORT OF DECLARATORY RELIEF (ECF No. 1793) (the
Case 3:16-cv-00545-REP Document 1813 Filed 12/07/18 Page 2 of 13 PageID# 54582




"Decarlatory Relief Motion").            Therein, Steves specified that it

now seeks declaratory relief only on four issues.                  They are:

         (i)     "the full range of JELD-WEN molded doorskin
         products" as set forth in Section 1 of the Supply
         Agreement means all doorskin designs currently
         manufactured by JELD-WEN or that may be manufactured
        by JELD-WEN during the remainder of the term of the
        Supply Agreement, such that the pricing provisions of
        the Supply Agreement shall apply to all doorskin
        designs currently manufactured by JELD-WEN or that may
        be manufactured by JELD-WEN during the remainder of
        the term of the Supply Agreement;

        (ii)      under      Section    6   of   the    Supply    Agreement,
        doorskin prices may increase or decrease as a
        percentage of the change in JELD-WEN' s key input
        costs;


        (iii)   JELD-WEN is required to provide Steves with
        annual notice by November 30 of each year of the year-
        over-year percentage change (up or down) of the
        specified key input costs, and the resulting doorskin
        price increase or decrease to be charged for the
        following year (as JELD-WEN did in the price reduction
        notices sent by JELD-WEN in late 2012 and late 2013
        (PTX-29, attached as Ex. 2, PTX-254, attached as Ex.
        3)).     Given the iterative          nature of the       method for
        calculating price changes under the Supply Agreement,
        and the fact that JELD-WEN has not provided Steves
        with key input cost change information for 2017, JELD-
        WEN must provide the accurate percentage changes in
        key input costs for 2017 in order to ensure accurate
        price changes as contemplated by the Supply Agreement
        going forward; and

        (iv)      in   the    first    sentence   of    Section    8   of   the
        Supply Agreement ("The [doorskins] will at all times
        be [1] of a quality satisfactory to STEVES, [2] meeting
        JELD-WEN's specifications, [3] fit for the intended
        purpose, and [4] subject to JELD-WEN's standard
        written warranty applicable to the [doorskins] (the
        'Specifications')."),           the      term    "Specifications"
        includes each of the four elements enumerated in the
        sentence,   such   that  Steves   is   entitled   to
        reimbursement pursuant to the terms of the Supply
Case 3:16-cv-00545-REP Document 1813 Filed 12/07/18 Page 3 of 13 PageID# 54583



         Agreement if doorskins do not meet any one of the four
         elements.


In their briefs, the parties have used shorthand designations to

describe these four issues and the Court will make use of those

designations in this Memorandum Opinion.           For the reasons set forth

below, the PLAINTIFF STEVES AND SONS, INC.'S MEMORANDUM IN SUPPORT

OF DECLARATORY RELIEF (ECF No. 1793) will be granted in part and

denied in part.


                                   DISCUSSION


            The Declaratory Judgment Act permits a court to declare

an interested party's rights where there is an ''actual controversy"

before the     Court.   28 U.S.C. § 2201(a). A declaratory judgment

under that statute is only "appropriate 'when the judgment will

serve a useful purpose         in clarifying       and    settling     the    legal

relations in issue, and . . . when it will terminate and afford

relief from the uncertainty, insecurity, and controversy giving

rise to the proceeding.'" Centennial Life Ins. Co. v. Poston, 88

F.3d 255, 256 (4th Cir. 1996) (alteration in original) (quoting

Aetna   Cas.   & Sur.   Co.   v.   Quarles,   92   F.2d   321,   325   (4th    Cir.

1937)); see also Ross v. Reed, 719 F.2d 689, 694 (4th Cir. 1983)

(facts underlying declaratory relief must show "'a substantial

controversy, between parties having adverse legal interests, of

sufficient immediacy and reality to warrant the issuance of a

declaratory judgment'" (quoting Golden v. Zwickler, 394 U.S. 103,
Case 3:16-cv-00545-REP Document 1813 Filed 12/07/18 Page 4 of 13 PageID# 54584



108 (1969)). Thus, "[w]here a declaratory judgment would not

clarify future legal relations between the parties, the action

serves no useful purpose and courts will not entertain it." Davison

V. Plowman, 247 F. Supp. 3d 767, 782 (E.D. Va. 2017), aff^d, 715

F. App'x     298    (4th   Cir.     2018). Moreover, the           power to award

declaratory relief is discretionary, even if a controversy exists.

Poston, 88 F.3d at 256.

      The declaratory relief that Steves requests is based on the

jury's verdict wherein the jury decided certain disputes over

provisions     of    the   Supply      Agreement.       Contrary    to     JELD-WEN's

contention, the fact that the resulting declaratory judgment would

reiterate    portions of        the   Verdict Form       does   not make Steves'

request improper. Cf. Pitrolo v. Cty. of Buncombe, 589 F. App'x

619, 628-29 (4th         Cir.   2014)      ("Whether the     declaratory relief

requested restates the verdict . . . is not directly related to

the   question      of   whether      an   award   of    declaratory       relief   is

warranted.")

A.    The '^Full Range'' Issue

      This issue arises under the term of Section 1 of the Supply

Agreement which, in full, provides;

            PURCHASE AND SALE: JELD-WEN hereby agrees to
            sell to Steves and Steves hereby agrees to
            purchase   from  JELD-WEN,   molded   doorskin
            products according to the terms and provisions
            of this Agreement.  The products subject to
            this Agreement shall be the full range of
            JELD-WEN       molded      doorskins    products        (the
            ''Products'').
Case 3:16-cv-00545-REP Document 1813 Filed 12/07/18 Page 5 of 13 PageID# 54585




      At trial, the jury was called upon to decide whether JELD-

WEN breached Section 1 of the Supply Agreement by overcharging

Steves for the Madison and Monroe styles of doorskins. (Complaint,

COUNT TWO).    The jury held that JELD-WEN had ''breached the Supply

Agreement     by     overcharging   Steves    for   Madison    and     Monroe

doorskins."        Jury Verdict, 1|6 (ECF No. 1022).        And, the jury

awarded Steves damages of $1,303,035 on account of that breach.

Id., 1|7.

      Those verdicts were reached after the jury heard evidence and

argument about the meaning of the phrase "full range of JELD-WEN

molded doorskin products." Steves offered evidence that the phrase

had been inserted to remedy the results of a disagreement that had

arisen about the scope of products that were to be supplied by

JELD-WEN under a previous agreement.         JELD-WEN did not refute that

evidence but, instead, contended that the phrase "full range of

JELD-WEN    molded    doorskin   products"   referred   only   to    products

mentioned in Schedule 1 of the contract.


      The evidence showed that JELD-WEN introduced the Madison and

Monroe styles after the Supply Agreement was executed.               However,

the evidence proved that the Madison and Monroe styles were so-

called "Craftsman" styles and that Schedule 1 reflected prices for

Craftsman styles.
Case 3:16-cv-00545-REP Document 1813 Filed 12/07/18 Page 6 of 13 PageID# 54586



      Steves also proved that,        before   trial,   JELD-WEN   had been

charging considerably more for those two models of doorskin than

called for by the Supply Agreement.         The record is that JELD-WEN

continues to charge the higher prices.

      The issue that was submitted to the jury was whether or not

JELD-WEN had overcharged Steves on those two products (see Jury

Verdict, KH 6 and 7 (ECF No. 1022)).           The jury was instructed on

the point as follows:

            Section 1 of the Agreement provides that the
            tenns of the agreement apply to the 'full
            range of JELD-WEN molded doorskin products.'
            Steves alleges that the Agreement requires
            JELD-WEN   to sell all of     its interior   molded
            doorskin products current and future to Steves
            at the price that the Agreement requires, and
            that JELD-WEN breached the Agreement by
            refusing to sell two products introduced after
            the signing of the Agreement—the Madison and
            Monore styles-at the prices that the Agreement
            requires.   JELD-WEN denies that it breached
            the  Agreement   because,   it  asserts,   the
            Agreement only applies to the full range of
            doorskin products available at the time the
            parties entered into the agreement, and not
            any new products introduced subsequent to
            signing   the  agreement.   JELD-WEN   further
            contends that there was no price specified in
            the Agreement for future styles.

The jury resolved that issue against JELD-WEN.            The evidence at

trial demonstrated the Madison and Monroe doorskins fell within

the scope of Section 1 of the Supply Agreement because they were

Craftsman-style doors, and that Craftsman styles were included in

Schedule 1 to the Supply Agreement.             That, along with Edward

Steves' testimony, was sufficient for the jury to find that the
Case 3:16-cv-00545-REP Document 1813 Filed 12/07/18 Page 7 of 13 PageID# 54587



Madison and Monroe styles were subject to the prices set out in

Schedule 1.


      However, the jury was not called upon to decide whether the

"full    range"   language   included    all    styles   of   non-Craftsman

doorskins designed and made by JELD-WEN in the future.              Therefore,

even though there remains an actual controversy over the "Full

Range" issue, the jury's verdict will not support a declaration of

the sort requested by Steves.         Accordingly, Steves, request for

declaratory relief on the "Full Range" issue will be denied.

B.    The **Price Decrease or Increase" Issue


      The request for declaratory relief on this issue is based

upon Section 6 of the Supply Agreement and the jury's verdict

awarding damages to Steves for a breach of Section 6 by JELD-WEN.

      Section 6 provides as follows:

            b.    The Initial Price shall remain in effect
                  for the duration of this Agreement unless
                  a price increase or decrease takes place
                  in accordance with the terms hereof


            c.    The Initial Price may vaiy on an annual
                  basis by an amount that is the the [sic]
                  percentage increase in JELD-WEN Key
                  Inputs (shown in Schedule 2).        The
                  percentage   of   cost   contributed  as
                  initially   supplied   by   JELD-WEN  in
                  Schedule 2 is subject to verification by
                  STEVES.     JELD-WEN   will    calculate    the
                  variance    utilizing   production  and
                  shipments from JELD-WEN plant locations
                  for the previous rolling twelve (12)
                  month period October 31 to November 1
                  (for   purposes   of  a   November 2012
                  adjustment, the October 31, 2010 to
                  November 1, 2011 period shall be used).
Case 3:16-cv-00545-REP Document 1813 Filed 12/07/18 Page 8 of 13 PageID# 54588




                  Once   this   baseline   cost is established
                  utilizing the correct percentage and
                  defined input costs, a percent change
                  will be established.  The sales price
                  will then be adjusted        to   50%   of    the
                  percent change in cost.

      At trial the parties put on evidence respecting whether the

price adjustment provisions in paragraph 6b and 6c provided for

increases and decreases in price, as Steves asserted, or only to

price increases, as JELD-WEN asserted.          At trial, Sam and Edward

Steves testified that they understood the pricing provision in

Section 6 to require price increases and decreases depending upon

decreases or increases in JELD-WEN's Key Input costs (as those

costs were identified in Schedule 2 to the Supply Agreement). John

Ambruz, JELD-WEN's principal negotiator of the Supply Agreement,

testified that he also understood Sections 6b and 6c to provide

for price decreases and increases based on fluctuations of JELD-

WEN's Key Input costs as those costs were defined in Schedule 2.

Ambruz acknowledged that he had discussed this topic with both

Edward and Sam Steves during the negotiations.        Further, the record

showed   that,   in   2012   and   2013,   JELD-WEN   had      announced   and

implemented price decreases under the Supply Agreement based on a

decrease in JELD-WEN's Key Inputs costs.

      The jury resolved this dispute in favor of Steves when it

awarded damages in the exact amount of overcharge damages sought

by Steves for breach of Section 6 of the Supply Agreement.                 The

damage award was for the precise amount explained by Steves' expert
Case 3:16-cv-00545-REP Document 1813 Filed 12/07/18 Page 9 of 13 PageID# 54589



 who calculated what the proper prices would have been if the prices

 had been decreased to reflect decreases in JELD-WEN's Key Input

 costs.    (Jury Verdict, HH 4 and 5 (ECF No. 1022)).        To reach that

 verdict the jury necessarily had to agree that Section 6 provided

for both price increases and price decreases.          And, that result is

fully consistent with the text of Sections 6b and 6c read as a

whole.


      Notwithstanding the verdict and the rather clear evidence

supporting Steves position on the issue and the lack of evidence

supporting the position taken by JELD-WEN, JELD-WEN persists in

applying     its   own   interpretation     of   the   Supply    Agreement.

Accordingly, declaratory judgment is appropriate to resolve the

continuing actual controversy over the issue.               Based on the

evidence and the jury's verdict, the             Court declares that the

pricing    provisions    of   Section 6   apply to     provide   for   price

increases when JELD-WEN's Key Input costs increase and for price

decreases when JELD-WEN's Key Input costs decrease.^

C.    The **Key Input Costs" Issue

      This dispute also arises under Section 6 of the Supply

Agreement which, after explaining the mechanism for determining

price increases or decreases, provides as follows:

            By no later than [November 30] of each year
            JELD-WEN shall provide notice to Steves of the
            price to be in effect for the coming year
            [January 1 - December 31].      In the event such


^ The mode of increase/decrease is addressed by Section 6c as well.
                                     9
Case 3:16-cv-00545-REP Document 1813 Filed 12/07/18 Page 10 of 13 PageID# 54590



             notice is not received by Steves by the close
             of business on November 30, Steves shall so
             notify JELD-WEN and JELD-WEN will have fifteen
             days (through December 15) to cure such
             omissions, failing which there shall be no
             price increase for the coming year.

       Steves takes the view now, as it did at trial, that JELD-WEN

 is required to provide Steves with annual notice (by November 30

 of each year) of the year-over-year percentage change, whether up

 or down, of the specified Key Input costs.               JELD-WEN takes the

 view that it is not obligated under Section 6c to provide these

 Key Input costs to Steves in the event that it does not notify

 Steves of a price increase.          And, JELD-WEN is correct that the

 text of Section 6c does not specify that JELD-WEN must provide

 notice   when    the   Key   Input   costs   decrease.     However,    Steves

 presented evidence at trial that it was important that Steves

 understand the year-over-year changes in the Key Input costs so

 that it could determine whether a price change was justified by

 changes in the Key Input costs; or whether decreases in the Key

 Input costs should be reflected in a price decrease that was not

 tendered by JELD-WEN.         The record showed, that when there were

 price decreases in 2012 and 2013, JELD-WEN provided Steves with

 information about the changes in the Key Input costs (Trial Tr.

 615:6-617:12; PTX-29; PTX 254).            Moreover, the Supply Agreement

 provides   for    adjustments    according     to   cumulative   Key   Input

 decreases, and it is important to understand the year-over-year




                                       10
Case 3:16-cv-00545-REP Document 1813 Filed 12/07/18 Page 11 of 13 PageID# 54591



 changes to understand the compounding price change methods that

 the Supply Agreement requires.       Trial Tr. 1156:11-1157:4).

       JELD-WEN has provided no Key Input costs information of any

 kind for 2017 or thereafter.^        The record shows that JELD-WEN's

 costs have gone down so that a price decrease should occur under

 the terms of Section 6, as it was interpreted by the jury in

 arriving at its verdict.

       Thus, there is an actual controversy between the parties on

 this issue, and declaratory relief is appropriate.              JELD-WEN's

 position on this question depends solely on the theory that Section

 6c obligates JELD-WEN to provide the changes in Key Input costs to

 Steves only if it gives notice of an increased price.                It is

 correct that, if JELD-WEN increases the price, it is obligated to

 provide Steves with the year-over-year changes in Key Input costs.

       That, however, is not the end of the matter because JELD-

 WEN's position cannot be squared with the finding made by the jury

 that, based on the understandings of the parties and their actual

 performance under Section 6 of the Supply Agreement, prices to be

 charged under Section 6 depend on increases and decreases in the

 Key   Input   costs.    The   undisputed   evidence    is   that,   without

 knowledge of the Key Input costs, Steves is unable to assess

 whether the pricing mechanism specified by Section 6 is satisfied



 2 Changes in Key Input costs for 2014, 2015 and 2016 were obtained
 during discovery and used by Steves' damage expert, Mr. Tucker to
 calculate overcharge damages.

                                     11
Case 3:16-cv-00545-REP Document 1813 Filed 12/07/18 Page 12 of 13 PageID# 54592



 by the prices that JELD-WEN is charging Steves.                      Therefore, if

 adopted, JELD-WEN's position respecting when it is required to

 provide     the     information       respecting        changes    (increases       or

 decreases) in its Key Input costs would set at naught the jury's

 findings that Section 6 provides for price increases and decreases

 dependent    upon       fluctuation   in    the   Key     Input   costs,    would   be

 inconsistent with the jury's finding on that issue, would render

 meaningless       the    language   of   Section     6c    respecting      how   price

 adjustments are to be made, and would be contrary to JELD-WEN's

 performance under Section 6 in 2012 and 2013.

       An actual controversy exits between the parties on this issue,

 and it is appropriate to enter judgment declaring that Steves is

 entitled to year-over-year changes in the Key Input costs from

 JELD-WEN by virtue of Section 6 of the Supply Agreement.

       JELD-WEN's argument that this aspect of Steves' request for

 declaratory       relief     is     barred      by   its     unclean       hands    in

 misappropriating JELD-WEN'S trade secrets is without merit.                         In

 support of its ''clean hands" argument JELD-WEN relies on evidence

 presented at the trade secrets trial. However, JELD-WEN's argument

 ignores the fact that of the 67 alleged trade secrets, the jury

 found that 59 of them were not trade secrets and that among the 59




                                            12
Case 3:16-cv-00545-REP Document 1813 Filed 12/07/18 Page 13 of 13 PageID# 54593



 alleged trade secrets that were found           not to have    been trade

 secrets were all the variable costs information.^


 D.   The **Quality" Issue

      This request is based upon Section 8 of the Supply Agreement.

 The Court previously has issued a decision addressing the quality

 provision in Section 8 of the Supply Agreement (ECF No. 1773), and

 vacating the jury's verdict (HH 8 and 9, and HH 10 and 11, ECF No.

 1022) based on Section 8.         It appears that there is an actual

 controversy between the parties respecting Section 8.             However,

 considering the trial record, the way the ''Quality" issue was tried

 and presented to the jury, and the findings in the Memorandum

 Opinion, there is no predicate in the jury verdict upon which the

 Court could issue a declaration of the sort sought by Steves, and

 therefore   the   request   for   declaratory    relief   respecting    the

 "Quality" issue must be denied.

      It is so ORDERED.




                                                 /s/
                              Robert E. Payne
                              Senior United States District Judge

 Richmond, Virginia
 Date:   December 7, 2018




 3 Trade Secret No. 46 identified a transfer cost that is not a Key
 Input cost. Trade Secret No. 47 identifies an initial projected
 cost, but it has no effect on Key Input cost as defined in Schedule
 2 of the Supply Agreement.

                                     13
